      Case 14-11980-JDW          Doc 36       Filed 02/16/18 Entered 02/16/18 15:02:30              Desc
                                                   Page 1 of 2

                           IN THE UNITED STATES BANKRUPTCY COURT FOR
                               THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                                          CHAPTER 13 NO:
CHARLES E STEPHENS
                                                                           14-11980-JDW
PO BOX 5723
HOLLY SPRINGS, MS 38634-5723



                                              NOTICE TO DEBTOR


     NOTICE is hereby given that your plan payment will change from   $875.00       ( MONTHLY )
 to $900.00     ( MONTHLY )       effective in 3/2018. Your plan payment is being remitted by your
employer / direct / by automatic bank draft.

        The reason for the changes in your plan payment is:

                  Due to a change in your monthly mortgage payment;

                  Due to claim being filed for a different amount than scheduled;

                  Due to entry of an order;
           xx                 Audit of case
                  Other: ____________________________________________________________

        If your employer is withholding the plan payment from your wages, you are responsible
for remitting the difference, if any, should your employer fail to withhold the new payment.

       If you are paying by automatic bank draft, please be sure there are sufficient funds in
your account to satisfy the new payment.

         If you are paying direct, please be aware that the Trustee DOES NOT accept personal
checks. You can remit payments online through https://tfsbillpay.com or mail guaranteed funds,
in the form of a cashier's check or money order with your case number and last name in the
description line, to

        Locke D. Barkley
        P.O. BOX 1859
        MEMPHIS, TN 38101-1859


Should you have any questions concerning this, please contact your attorney.
Date: 2/16/2018

CC:    NORTH MISSISSIPPI BANKRUPTCY GROUP                                 Respectfully submitted,
       C/O KAREN SCHNELLER                                                LOCKE D. BARKLEY
       PO BOX 417
       HOLLY SPRINGS, MS 38635
                                                                          /s/ Locke D Barkley
                                                                          CHAPTER 13 TRUSTEE
Case 14-11980-JDW          Doc 36      Filed 02/16/18 Entered 02/16/18 15:02:30                Desc
                                            Page 2 of 2




                                CERTIFICATE OF SERVICE

     I do hererby certify that I electronically filed the foregoing with the Clerk of Court using
 the CM/ECF system, and I hereby certify that I either mailed by United States Postal Service,
 first class, postage prepaid, or electronically notified through the CM/ECF system, a copy of the
 above and foregoing to the Debtor, attorney for the Debtor, the United States Trustee, and other
 parties in interest, if any, as identified below.



 Date: 2/16/2018
                                                                     /s/ Locke D Barkley
                                                                     LOCKE D. BARKLEY
                                                                     CHAPTER 13 TRUSTEE
